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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

 

 

 

 

 

 

MEMORANDUM
MEMO TO: Ms. Ophelia Munn-Goins

! FROM: _ Dr. Kay Geisen

| DATE: May 24, 2006

SUBJECT: Reprimand

As previously discussed, you obtained from Mr. Horne certain information relative to
faculty and staff salaries. By law we are compelled to provide that information upon your
request. Mr. Horne siates that before providing you the information, he personally cautioned you
on the potential impact should this information get circulated. In our discussion with Dr, Page
you stated that you wanted the information for “personal comparative purposes.” In your
February 21, 2006 request to Ms. Tiina Mundy you stated that this information was for
“personal” use.

Based on the testimony of others, you actively solicited their receipt of this information
and boasted of its availability. You did in-fact provide this information to others and this
“material was distributed in a number of campus mailboxes. The action of distribution in
qnailboxes has been denied by all those whom you say you personally provided the information
to; however, they have admitted receiving it. Nevertheless, it was distributed and has caused a
general uproar from the college faculty and staff alike. Employees who were previously content
with their position and pay at the college are now very upset at the public disclosure of their
comparative salaries. Recently, a faculty member’s neighbor expressed concer to them because
his/her salary was being distributed throughout the county.

It is obvious from all sources, including yourself, that you initiated the distribution of this
information, While it might have been obtained under the auspices of public information, it was
not your prerogative to distribute it; this action was contrary to your verbal and written reason for

- wanting it. Since you have stated in our conversations that you have obtained and distributed
this information in the past, then your purposed “personal use” was in fact for others as well. It
appears that your distribution list this year, whether by design or not, contributed to the
widespread circulation of the copied materials that were given to you.

Therefore, based on the facts and testimony of others, it is my conclusion that the distribution of
these materials was not merely providing public records to others but was an attempt to inflame
and incite members of the faculty and staff'and to create a hostile workplace environment.
While certain information concerning pay is public record, individual employees hold their

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B PENGAD 800-631-6059 4

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individual pay in deep confidence, trusting that those who have access to such information will
maintain the same level of confidentiality. For those of us in public positions, violating the trust
and confidence of others is a serious breach of conduct. The trust and confidence of each other
and those we serve must be maintained at all costs.

Your own admissions, the testimony of others, the impact of your action(s) toward faculty and
staff, and because of the disharmony caused by that action(s), you are officially reprimanded for
significant errors in judgment and conduct unbecoming to an employee of this college.

Your employment status for the coming year will be rated as “on probation” and your salary
frozen. This probation period will become the basis for determining appropriate disciplinary
actions should subsequent actions on your part occur. This letter will be placed in your
employee file and your FY06-07 employment contract will reference this letter and the “on
probation” status.

Should you have any questions or concerns with the content of this reprimand, please
communicate them directly to me in writing.

c: Dr. Page, President
Personal File - sealed

Acknowledgement of Receipt:

Name . ~~ Date

Witnessed by:

 

Name

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December 1, 2006

Dr. Kay Geisen
Post Office Box 266
Dublin, North Carolina 28332

Dear Dr. Geisen:

Tam requesting permission to take (3) three weeks educational leave during the 2007
Summer session in accordance with the provisions of the North Carolina Administrative
Code, Section 2D.0103. The educational leave requested will begin May 10, 2007 and
end May 31, 2007 to complete graduate work at Fayetteville State University. During
this period J will prepare for my comprehensive exam, and begin research and

coordination on my dissertation, I greatly appreciate your support and approval of this
request.

Respectfully, .

Opa Mune

Ophelia Munn-Goins
Bladen Community College
910-879-5659

Gr inecissncs bbalemee ods

APPROVED

 

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DISAPPROVED

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Signature (Dr. Kay Geisen)

Alaalo y

(Date)

 
| Kathryn Geisen - Fwd: Re: Flashdrives

 

' Page |

From: Kathryn Geisen
Subject: Fwd: Re: Flashdrives

>>> Kathryn Geisen 1/30/2007 1:27 PM >>>
Ophelia,

Please give me the dates again that you have requested. Ophelia, this is not a regular board meeting.
That meeting will be held the end of February. This is solely for personnel nandbook approval. | need
those dates again that you want leave. Thanks~ K

>>> Ophelia Munn-Goins 1/80/2007 12:45 PM >>>

Dr. Kay, will you please submit my request for Educational leave for approval to the Trustees tamroow
night. Thank you

Ophelia

>>> Kalnryn Geisen 01/30/07 11:51 AM >>>
Dear Folks,

New flashdrives are now in your boxes. Hope that everything is fine with you and going weil, If you need
anything at all, please let me know. Nothing to report, there is a personnel and board of trustees meeting
tomorrow. We are presenting the new employee handbaok io the group,

Saying for today-" Maybe if we did a better job of listening, history would not have to repeat tself-

Thanks- Dr. Kay

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Attachment BE

BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

 

 

 

 

 

Febmary 22, 2007

Ophelia Munn-Goins
Bladen Conununity College
PO Box 266.

Dublin, NC 28332

Dear Ophelia:

1am not going to be able to approve your educational leave from May 10, 2007
through May 31, 2007. There is no provision far it and the educational palicy clearly
es ail oad tae eee eee: You are a 10 month employee and
mit: May 31, 2007,

   
  

  

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your contract doae not
free to call me.

  

If you have any questions, please feel

Sincerely,
AGauass  Aerce>

Kathryn H. Gelsen, Ed.D
Vice-President of Instruction
Bladen Community College
B.G, Box 266

Dublin, NC 28332
910-879-5517

  

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February 22, 2007

Dear Ophelia,

I am not gong to be able to approve your educational leave from May 10, 2007
through May 31, 2007. There is no provision for it and the educational policy clearly
states that you must take this during the summer. You are a 10 month employee and your
contract does not end until May 31, 2007. If you have any questions, please feel free to
cal] me.

Sincerely,

Kathryn H. Geisen
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

 
Kathryn Geisen - Fwd: Educational Leave Page 1

From: Kathryn Geisen
Subject: Fwd: Educational Leave

>>> Kathryn Geisen 2/23/2007 11:41 AM >>>

Dear Ophelia,
In response to your inquiry, to Dr. Page and myself regarding eduational leave that was denied, the
following reasons are being given to you.
1. Educational leave fs given to take course(s).
2. Your summer begins on the last day of your contract.
3. This course has no relevance to the college in which the policy
states that course(s) taken must benefit the college. Your
doctorate has no relevance to computers or courses that you

teach.
4. We do not give educational leave to study for a test Just to

take courses.
5. There is no documentation that your program, that you are
pursuing, was ever approved by the Board of Trustees

Ophelia, we are very supportive of your educational goals and pursults in the fleld of academia, We
have to follow policy to the letter. Please refer to the Bladen Community College Handbook. Again, this is
not personal, #t is following guidelines as approved by the college's Board of Trustees Thank you-

Dr.Geisen

 

 
 

T Darrell Page - Meeting conceming Educational Leave Page 7 ||

From: Ophelia Munn-Goins

To: Darrell Page; Ophelia Munn-Goins
Date: 3/15/2007 9:11:35 AM

Subject: Meeting concerning Educational Leave

Dr. Page: | am writing in regards to the meeting with you on February 23, 2007 at 9:45 am. I came to you
to discuss the letter | received from Dr. Geisen stating my request for educational jeave was denied even
though in December 2006 she stated it would be approved. | requested the leave to study for COMPS
which is a culmination of the last two years of course work. | requested leave during the month of May
and informed you that according to Bladen Community College Faculty Handbook faculty employees of
the College may be allowed educational leave with pay to complete educational courses during the
summer. | ask for your consideration IAW BCC handbook which required the College President and the
Board of Trustees must approve educational leave and the program to be pursued in advance

At the conclusion of the meeting you stated you would get back with me after talking with Dr Geisen.

Thank you

Ophelia

 
 

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Meeting Minutes with Ophelia Mumm Goins
March 15, 2007
Dr. Darrell Page, Lloyd Horne, Dr. Kay Geisen
16:00 am.

Ophelia Munn Goins sent an e-mail to Dr. Darrell Page on March 15" in response to a
prior meeting with Ms. MunnGoins on February 23, 2007 concerning educational leave.
Ms. Munn Goins was denied educational leave because she wanted to study for her
doctoral comps and the college has never given educational leave to a person to study.
Her e-mail indicated that she would like a reconsideration of her request for educational
leave. Her original request was to study for her COMPS.

In the meeting held on March 15, Ms. Munn — Goins said that she wanted to take courses,
which was different from her first request, for educational leave. I told her that was
different that what she originally asked for, she disagreed. Her e-mail did indicate that
she wanted leave for studying. We toid her that we could not let her off to study and then
she asked if she could take the courses during the day and study at night, We told her to
resubmit her request, She would be asking for 3 weeks of leave time. We will present that
to the personnel committee prior to the Board of Trustee Meeting. ,

We explained that educational leave was only to be taken in the summer and her summer
did not end until the end of May, because she is a 10 month employee. ,

Ms. Munn Goins indicated that I Kay Geisen) has toid her her leave would be approved
in December, I would like to put on record that I told her that most leaves are not tumed
down.

Respectively,

Dr. Kay Geisen
Vice-President of Instruction
Bladen. Community College
March 15, 2007

 
 

 

 

 

BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

 

 

 

 

MEMORANDUM
MEMO TO: Ophelia Munn-Goins
FROM: Darrell Page, President
DATE: March 28, 2007
SUBJECT: Request for Educational Leave
At our meeting on March 15, 2007, we discussed your revised submittal for educational
Jeave. You indicated that you would revise your plans and register for two day courses
which would permit evenings for study time. I indicated to you that [ would favorably
report this request to the trustees at the next meeting, As of today, we have not received

your revised request.

We are beginning to work on the next agenda for the Board of Trustees meeting and we
need your revised request, if your plans have not changed.

LPH/ld
e: Dr. Geisen

 

 

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Attachment 8

From: Barry Priest

To: Ophelia Munn-Goins
Dats: Triday » December 15, 2006
Subject: Re: Adminiswative Removal Policy

 

 

 

She can only complete & drop if the instructor signs the forza. We did not get the drop form from
her, If this happens, a drop from the student should follow if she does not follow up on her task.

In Johathan Rich's situation, you would still drop him for jack of attendance. itis easier to drop
when they miss consecutive weeks than it is to define when )ou ghould not implement the
administrative removal policy. Regardless of the time in the samceter, it is still best to implement

the two consecutive week policy. There are no written exceptions to this removal policy. Thanks
again.

Barry K. Priest, Registrar

Bladen Community College

Post Office Box 266

Dublin, NC 28332

Phone: 910.879.5579 Fax: 91 0,879.5564
bpriest@)bladen.cc.nc.us

>>> Ophelia Munn-Goins 12/1 §/2006 1:54:04 PM >>>

lennifer King had medical issues and advised me that she would submit a dxop if she could not
return to class. I waited for a copy fo come from your office since she was raking the action. I did
not renlize Jonathan Rich should have been dropped just becnuse he did not return after
Thanksgiving for 2 consecutive weeks which means I would have submitted a drop to you on
Tuesday, December 12th and the semester ends Friday, December 15th.

Thank you for the policy and I continue monitoring.

Happy Holidays,

Ophelia Munn-Goins

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>>> Barry Priest 12/15/06 12:52 FM >>>

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There a couple of situations on your CiS rosters where students ceased coming to class. The
student wes counted absent until the end of the semester and was given a "EP" Please implement
our "administrative removal” policy. 17a student misses 20% of the contact hours for the course or
if the student misses two consecutive weeks, they must be withdrawn immediately. This is
exuemely important. Our administrators and auditors are looking at this closely as this affects the
"Return to Title LV" funds. Again, please be aware for next semester. T have attached the policy

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change again for you to review. This policy is also in the 2006-07 Records and Registration
Manual,

These are the snidents according to the attendance roster that should heve been dropped from the
CIS courses you taught: Jennifer King and Johathan Rich. ] ara not trying to single you out, but!
arn trying to make sure this policy is not being compromised. Thank you for all you do to make
gure the records are accurate and compliant with BCC's current policies.

Happy Holidays,

Barty K, Priest, Registrar

Bladen Community College

Post Office Box 266

Dublin, NC 28332

Phone: 910.879.5579 Fax: 910.879.5564
bpriest@bladen.ce.nc.us

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BLADEN COMMUNITY COLLEGE

Post Office Bax 266
Dublin, North Carolina 28332

February 2, 2007

Me. Ophelia Munn-Goins
927 Graham Road
Riegelwood, NC 23456

Dear Ms, Munn-Goins:

Tthas been brought to Toy attention thet students, who were in one or more of your
Fall 2006 class(es), were NOt dropped in a timely manner on your attendance sheet(s).
You didnot follow the procedure for administrative removal policy which is explained In
Records and Registration Manual provided by our registrar, and algo explained at faculty
orientations.

You are being forewarnedi that this is a serious Matter that can cause Bladen
Community College to have to return Title TV funds. itis expected that you will
familiarize yourself with administrative removal policies, Future infractions will cause
you to have a letter of reprimand in your personnel file. Continued failure to follow
college policies could possibly lead to further actions or non renewal of further contracts
for you.

‘Thank you,

Kathryn 8. Geisen, Bd-D
Vice-President of Instruction
Bladen Community Collegs
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

Febmary 2, 2007

Ms. Patty Evers
1078 Delancy Drive
Hope Mills, NC 28348

Dear Ms. Evers:

It has been brought to my attention that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheet(s).
You did not follow the procedure for administrative removal policy which is explained in
your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewarned that this is a serious matter that can cause Bladen
Community College to have to return Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies, Future infractions will cause
you to have a letter of reprimand in your personnel file. Continued failure to follow
college policies could possibly lead to further actions or non renewal of further part-time
contracts for you.

Thank you,

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Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

 

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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

February 2, 2007

Ms. Agatha Brown
1963 Blacksmith Road
Bolton, NC 28423

Dear Ms. Brown:

It has been brought to my attention that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheet(s).
You did not follow the procedure for administrative removal policy which is explained in
your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewamed that this is a serious matter that can cause Bladen
Community College to have to zeturn Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies, Future infractions will cause
you to have a letter of reprimand in your personnel file. Continued failure to follow
college policies could possibly lead to further actions or non renewal of further part-time
coniracts for you.

Thank you,

Gy, Kay Aforiten

Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

 

 

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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

February 2, 2007

Ms. K.atherime Jenerette
1304 Prince William Road
North Myrtle Beach, SC 29582

Dear Ms. Jenerette:

Tt has been brought to my attention, that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheetfs).
You did not follow the procedure for administrative removal policy which is explained in
your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewamed that this is a serious matter that can cause Bladen
Community College to have to return Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies, Future infractions will cause
you to have a letter of reprimand in your personnel file. Continued failure to follow
college policies could possibly lead to further actions or non renewal of further part-time
contracts for you.

Dy. Kay Aecan

Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O, Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

February 2, 2007

Mr. Geoffrey Scott Chattin
PO Box 76

Lake Waccamaw, NC 28450

Dear Mr. Chattin:

It has been brought to my attention that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheet(s).
You did not follow the procedure for administrative removal policy which is explained in

your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewamed that this is a serious matter that can cause Bladen
Community College to have to return Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies, Future infractions will cause
you to have a letter of reprimand in your personnel file. Continued failure to follow

college policies could possibly lead to further actions or non renewal of further part-time
contracts for you,

Thank you,

Qh hey Mo rirem

Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

 

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Web Site: hetp:ffwenw.bladen.ce. nc.us
 

 

BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

February 2, 2007

Ms. Tracy Marshall
132 East Hampton Street
Camden, SC 29620

Dear Ms. Marshall:

Tt has been brought to my attention that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheet(s).
You did not follow the procedure for administrative removal policy which is explained in
your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewarned that this is a serious matter that can cause Bladen
Community College to have to return Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies. Future infractions will cause
you to have a letter of reprimand in your personnel file. Continned failure to follow
college policies could possibly lead to further actions or non renewal of further part-time
contracts for you,

Thank you,

Qi. Koy Alecaon

Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

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An Equal Opportunity Institution Telephone: 910-879-5500 Web Site: hitpd wwerbladen. cc cus
 

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BLADEN COMMUNITY COLLEGE

Post Office Box 266
Dublin, North Carolina 28332

 

February 2, 2007

Ms, Stephanie Henry
429 Dickson Road
Riegelwood, NC 28456

Dear Ms. Henry:

it has been brought to my attention that students, who were in one or more of your
Fall 2006 class(es), were not dropped in a timely manner on your attendance sheet(s).
You did not follow the procedure for administrative removal policy which is explained in
your part-time faculty notebook and is also explained at our part-time faculty orientations
held each semester.

You are being forewarned that this is a serious matter that can cause Bladen
Community College to have to return Title IV funds. It is expected that you will
familiarize yourself with administrative removal policies. Future infractions will cause
you to have a letter of reprimand in your personnel file, Continued failure to follow
college policies could possibly lead to further actions or non renewal of further part-time
contracts for you.

Thank you,

Wh Hoy hlercon
Kathryn H. Geisen, Ed.D
Vice-President of Instruction
Bladen Community College
P.O. Box 266

Dublin, NC 28332
910-879-5517

Fax 910-879-5513

 

 

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James E. Ferguson, 1]
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John W. Gresham
Geraldine Sumter
Henderson Hill

C Margaret Errington
S Luke Largess
Jacob H. Sussman
Brandon M. Lofton

OF COUNSEL:
Jonathan Walias*
*Certified Mediator

FERGUSON STEIN CHAMBERS

FERGUSON STEIN CHAMBERS GRESHAM & SUMTER, P.A.
ATTORNEYS AT LAW
741 Kenilworth Ave. ~ Suite 300 « Charlotte, NC 28204
Telephone: (704} 375-8461 - Facsimile: (704) 334-5654
Mailing Address: P O Box 36486 + Charlotte, NC 28236-6486

IN CHAPEL HILL:
William Simpson, Jr

QFE COUNSEL:
Adam Stein

312 West Frankiin Strect
Chapel Hill, NC 27516
Telephone: (919) 935-5300
Facsimile: (959) 933-6182

December 14, 2006

Dr. Kay Geisen

Bladen Community College
Post Office Box 266
Dublin, NC 28332

RE:

Ms. Ophelia Munn-Goins

Dear Dr. Geisen:

I have been retained by Ms. Munn-Goins to represent her in matters arlsing out of her
employment at Bladen Community College, specifically the adverse actions taken by you
regarding the purported release of salary information by my client.

As a result of the reprimand contained in your letter, Ms. Munn-Goins has suffered a loss of
income for the 2006-07 school year and has a reprimand in her file

My investigation iidicates the following:

1)
2)

3)

4)

The information obtained by Ms. Munn-Goins was public information;
Ms. Munn-Goins had a constitutionally protected right to dissemmate the information;

Ms. Munn-Goins provided the information to other faculty members who either requested
it or with whom she had shared the information in past years. I have e-mails from other
faculty members confirming their interest in obtaining the information; and

Your decision to claim that Ms. Munn-Goins “boasted” about the availability of the
information suggests a deliberate effort to chill the dissemination of public information.
Ms. Munn-Goins had every right to advise others of the lawful avatlability of the salary
information, While some faculty members and others may be upset that the salary
information is public, as you note the college is “compelled by law to provide the
information upon request.” To suggest that Ms. Munn-Goins’ distribution of the salary
information to other faculty members has created a “hostile work environment” again
indicates a specific interest to violate Ms. Munn-Goins’ protected rights.

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December 14, 2006
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The damages that my client has suffered to date include the loss of the 6% zaise, the loss of her
2% incentive — superior performance bonus, and her merit pay. Additionally, my client has an
unwatranted written reprimand in her file and to date has not received a copy of the current
faculty and staff pay information for which she has paid $3 to receive.

My client would prefer to resolve this matter without recourse to litigation. T would appreciate it
if you or the: college attomey would advise if the college is prepared to redress the damages
suffered by my client in this matter including the removal and retum of the reprimand to Ms
Munn-Goins I look forward to your reply.

Sincerely yours,

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John Gresham
TWG/naa

pe: Ms. Ophelia Munn-Goins
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Tames E Forquuen, 11
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In CHAPEL RIL:

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March 23, 2007

VIA FACSIMILE AND REGULAR MAH,

Mr. Philip R. Dixon

Dixon, Conner, Allen & Garcia, PLLC
110 EB, Arlington Boulevard
Greenville, North Carolina 27858

Re: Ophelia Munu-Goins/Bladen Community College (BCC)

Denr Phil:

By sheor happenstance, T received your letter just before my acheduied call with Ms. Munn-
Goins to review the latest retaliation at the hands of BCC administrators.

The following has occurred since last 1 wrote and we spoke:

1. The Warning: On February 13, 2007, my client received a warming from Dr.
Geissen for failure to drop students in a timely manner, (Attachment A) This
warning came in spite of the exchange of e-mails get out in Attachment B. You
will note that one student was having medical problems and had advised Ma.
Munn-Goins that she wished to continue the course but would drop if she could
not retum. Ms. Munn-Goins had advised the student that because of the fact that
the student had notified her of her medical condition and worked to complete the
course, she would work with her. Also, while the e-mail does not go into greater
detail (Ma. Munn-Goins wes not anticipating the warning which dropped like a
churiderbolt almost two months foter)’ the fact is that Ms. Munn-Goins did not
know that the student was not going ta retury to class until she failed to appear for
the exam, Likewise, the two week absence period for the male student ended on
the day of the final exam.

Lhave always understood, as has my client, that the obligations of a faculty
member at a comraunity college is to work to help students complete course work,

 

1 vyhile dated February 2, 2007, the letter was presented to my client on February 13, 2007. (an early
valentine?)

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Additionally, Lhave a question about whethor the practice of drapping students at
exam time comports with federal regulations and guidelines.

While the information set out above deals with the factual wad technical issues regarding Dr.
Geissen's February, 2007 warning, the more serious issne deals with the faer that while Ma.
Munn-Goins received a warning, other faculty members who engaged in the same practice did
not receive a warning, Once again retaliation rears its ugly head.

2. The Request for Educational Leave ~ 1 have atrached, ag Attachment C, the
BCC policy regarding educational leave, You will note thar it applies to a person
employed on a9, 10, 11 of 12 month basis. Ms. Munn-Goins is a 10 month
employee. She is working to obtain her doctorate and had the opportunity to take
two graduate courses and study for her comprehensive exams beginning shortly
after the end of the spring term (May 10, 2007). She then requested educationat
leave from May 100«May 31, 2007. On or around December 1, 2006, Ms, Munn-
Goins had made ler request for the educational leave (Attachment D) and had
spoken with Dr. Gelssen soon theréafter. At that point, which you will note was
shortly before I wrote you on behalf of Ms. Munn-Goins, Dr. Geissen indicated
that she saw no problem with the educational leave. However, after learning thet
Ms, Munn-Going was contesting the carlier retaliatory actions by BCC, Dr.
Geissen’s position changed and Dr. Geissen then decided the leave, although
BCC policy states thet the decision ig to be made by hor with the President and the
Board of Trustees. (AUachmient E - Geissen letter)

Ms. Mumi-Goins then met with Dr. Page and Dr. Geissen, and corrected a number
of erroncous statements about the length of her contract, her previous
conversation with Dr. Geissen, etc, Dr. Page then agreed to review tho matter. In
a subsequent meeting where new excuses erase, Dr, Page upheld Dr, Geissen's
disapproval of the leave.” Ms. Munn-Goins has decided to register for one of the
two courses she was planning to take, and will await your responae to my request
that she be granted educational leave.

Finally, J note that your cHent’s continued efforts to create a version of the events
surrounding the salary materials which were at the heart of the original disputes.
Your client’s “beliefs” are incorrect. First of all, another employcc advised Dr.
Gatssen that it way she, not my client, who put the information in some of the
faculty mailboxes. The assertion of the “pgiarious fold” is ever more startling and
shows a desire on behalf of the administrators to ignore the facts for a series of
unfounded “beliefs”.

Given these facts, I have some doubt that we can resolve this matter, but, being an optimist, I
make the following proposal:

 

> i note that at its most recent meeting, the Board of Trusteey approved two other educational leaves,

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Page 3

(3) The original reprimand and the reprimand dated February 2, 2007 be
removed from my client’s file and destroyed. A copy of the documents may be sealed
and maintained in your file.

(2) My client receive (a) a 6% raise, effective August J, 2006; (b) a2%
incentive-superior performance Bonus (consistent with her 05-06 evaluation); and (c)
merit pay of $1,500.00.

(3) My client receives a copy of the pay/salary scale for which she paid $3.00
earlier this year;

(4) My client is granted educational leave from May 10*May 31, 2007.

(5) That her pay aud bonuses for the 2007-2008 school year be consistent with
that of other faculty members with her same length of service, professional credentiais,
und excellent evaluations.

Since Ms, Mun Goins has some reasonable doubts about the possibility of continued colegial
relutionships with the administration at BCC, she has advised me that, ifwe can reach &
yesolution of this matter, she will resign fiom BCC at the end ofthe fall/winter 2007 term upon
our working out a suitable recommendation, settlement agreement and release

if we can resolve these issues ag set out herein, our clienta will be able to go their separate ways
and continue their educational and professional pursuits. T hope that you will be able to convince
your clients of the benefit of such an anproach,

Yours truly,

a

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John W. Gresham

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